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16                             UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18                                SAN FRANCISCO DIVISION

19 UNITED STATES OF AMERICA,                     Case No. 3:20-cr-00249-RS
20
                 Plaintiff,                      DECLARATION OF DAINEC P. STEFAN
21                                               IN SUPPORT OF DEFENDANT
           v.                                    ANDRADE’S MOTION FOR A NEW
22                                               TRIAL
     ROWLAND MARCUS ANDRADE,
23
                                                 Judge: Hon. Richard Seeborg, Chief Judge
                 Defendant.
24                                               Hearing: June 24, 2025 9:30 a.m.

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      DECLARATION OF DAINEC P. STEFAN ISO OF                          CASE NO. 3:20-cr-00249-RS
      DEFENDANT ANDRADE’S MOTION FOR A NEW TRIAL
     Case 3:20-cr-00249-RS        Document 645-1          Filed 05/23/25     Page 2 of 2




 1                            DECLARATION OF DAINEC P. STEFAN
 2          Dainec P. Stefan, counsel for Defendant Marcus Andrade, states as follows:
 3          1.     I am one of the lawyers representing Defendant Marcus Andrade in the above-
 4 captioned matter. I have personal knowledge of the factual matters contained herein based upon

 5 my review of the evidence and, if called as a witness in this matter, could competently testify to

 6 the matters stated in this Declaration.

 7          2.     Following the conclusion of trial on Thursday, March 18, 2025, the Court
 8 informed the jury that if they wished, after he had thanked them for their service, they could

 9 return to the courtroom to speak with counsel for Mr. Andrade and the United States and offer

10 their feedback on the parties’ presentations of their respective cases. Tr. 3166:17 – 3167:2.

11          3.     Some number of jurors did return to the courtroom to speak with counsel for both
12 sides. During this feedback, one of the jurors expressed how helpful it was that Mr. Chou’s

13 closing argument was replete with citations to exhibits that the jurors could review, and the other

14 jurors present shared their agreement.

15          I declare under penalty of perjury under the laws of the United States that the foregoing is
16 true and correct.

17          Executed on May 23, 2025, in New York, NY.
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19                                                    /s/ Dainec P. Stefan
                                                      Dainec P. Stefan
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      DECLARATION OF DAINEC P. STEFAN ISO OF                                 CASE NO. 3:20-cr-00249-RS
      DEFENDANT ANDRADE’S MOTION FOR A NEW TRIAL
